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    8
                             UNITED STATES DISTRICT COURT
    9
               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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      HOLLYWOOD INNOVATIONS                      Case No. 2:21-cv-9423
   12 GROUP LLC,
                                                 DECLARATION OF KYO-HWA
   13              Plaintiff,                    (LIZ) CHUNG IN SUPPORT OF
                                                 DEFENDANT NETFLIX, INC.’S
   14        vs.                                 MOTION TO DISMISS
   15 NETFLIX, INC., a Delaware                  Judge: Hon. André Birotte Jr.
      Corporation, ZIP CINEMA CO. LTD.,          Ctrm: 7B
   16 a South Korean Corporation, KAKAO
      ENTERTAINMENT CORP., a South
   17 Korean Corporation, PERSPECTIVE
      PICTURES CO. LTD, a South Korean
   18 Corporation, and Does 1-10, inclusive,
   19              Defendants.
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                     CHUNG DECL. I/S/O DEFENDANT NETFLIX’S MOTION TO DISMISS
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    1                  DECLARATION OF KYO-HWA (LIZ) CHUNG
    2        I, Kyo-Hwa (Liz) Chung, declare as follows:
    3        1.     I have personal knowledge of the matters set forth in this declaration,
    4 and if called as a witness, I could and would competently testify to the facts
    5 contained herein.
    6        2.     My title at Netflix is Director, Legal for Korea. I lead the Core Legal
    7 team in Korea, and I am an attorney admitted to practice in the courts of the
    8 Republic of Korea. After graduating from Korea University, College of Law, and
    9 passing the National Judicial Examination, I graduated from the Judicial Training
   10 and Research Institute. Thereafter, I spent four years as a judge on the Seoul
   11 Central District Court and the Seoul Administrative Court before joining a Korean
   12 law firm in 2003. I practiced law in Korea for almost a decade before obtaining my
   13 LLM from Harvard Law School. I am fluent in both Korean and English. I submit
   14 this Declaration to provide the Court with English translations of Korean law in
   15 support of Netflix’s Motion to Dismiss.
   16        3.     Article 99 of the Korean Copyright Act relates to the cinematization of
   17 original works of authorship, meaning the adaptation of original works into films.
   18 Under the Act, if the holder of the author’s economic right authorizes another person
   19 to exploit his or her work through a film adaptation, such right is presumed to also
   20 include the right to exploit the translation of the film adaptation. This presumption
   21 applies unless the parties expressly stipulate otherwise.
   22        4.     Attached as Exhibit A is a true and correct copy of an English
   23 translation of Article 99 of the Korean Copyright Act.
   24        5.     Articles 123, 125, and 127 of the Korean Copyright Act set forth
   25 remedies that a Plaintiff may seek to redress copyright infringement. Under Article
   26 123, a copyright owner may file civil proceedings seeking permanent and
   27 preliminary injunctive relief against infringement. Article 125 provides that a
   28 copyright owner may claim damages for negligent or intentional infringement.

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                      CHUNG DECL. I/S/O DEFENDANT NETFLIX’S MOTION TO DISMISS
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